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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

DIANA PONCE, EUSEBIO CANO, and                     §
ZULEMA B. LEIJA,                                   §
                                                   §    CIVIL ACTION NO. ________________
        Plaintiffs,                                §
                                                   §
v.                                                 §
                                                   §
KIA AMERICA, INC. and                              §
KIA CORPORATION,                                   §
                                                   §
        Defendants.                                §

              DEFENDANT KIA AMERICA, INC.’S NOTICE OF REMOVAL

        Defendant Kia America., Inc. ("KA") (formerly known as Kia Motors America, Inc.) files

this Notice of Removal, pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, to remove this action filed

in the County Court at Law of Kaufman County, Texas, to the United States District Court for the

Northern District of Texas, Dallas Division.1 In support of this removal, KA respectfully shows

the Court the following:

              I.      BRIEF FACTUAL AND PROCEDURAL BACKGROUND

        This is a product defect and negligence lawsuit arising out of an automotive accident that

occurred on March 19, 2021, in Kaufman, County, Texas. See Ex. 1 at Plaintiffs’ Original Petition

(“Petition”). Plaintiffs allege they were traveling in a vehicle when the now deceased Joyce


1
  Plaintiffs have not properly served Defendant Kia Corporation (“KC”) (formerly known as Kia Motors
Corporation) with this lawsuit. KC is a foreign corporation located in South Korea. As such, KC must be
served according to the mandatory requirements for proper service of process set forth in the Convention
of the Service Abroad of Judicial and Extra Judicial Documents in Civil and Commercial Matters,
commonly known as the Hague Service Convention. To date, Plaintiffs have not served KC pursuant to
the requirements of the Hague Service Convention.

While KC has not been properly served and, therefore, has not been joined to this action such that it can
formally join in this Notice of Removal, KA has confirmed that KC would join in the Notice of Removal
if it were a party and consents to removal of this matter at this time.


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Townsend, who was operating another vehicle at that time, failed to yield right of way while

attempting to make a turn causing a collision with Plaintiffs’ vehicle. Id. at Petition, ¶¶ 12-15.

       On July 19, 2021, Plaintiffs filed this lawsuit in the County Court at Law in Kaufman

County, Texas, against (1) KA, (2) KC, and (3) Jeffrey V. Townsend as Administrator of The

Estate of Joyce Townsend (the “Texas Estate”). See id. at Petition. The Texas Estate filed its

Original Answer on August 20, 2021. See id. at Texas Estate’s Original Answer.

       Plaintiffs did not serve KA until nearly four months later, on November 12, 2021. See Ex.

1 at Citation served on KA. Plaintiffs’ Original Petition that was served on KA named the Texas

Estate as a defendant in the case style (see id. at Petition); listed and described the Texas Estate as

a defendant under the “Parties” section (see id. at Petition, ¶ 7); and claimed specific causes of

action against the Texas Estate. (See id. at Petition, Sec. X, ¶¶ 74-76.) Importantly, the Original

Petition alleged that both Plaintiffs and the Texas Estate defendant were all residents of Texas

because Kaufman County is where each Plaintiff resides, and where the Texas Estate was filed.

(Id. at ¶¶ 2-4, 7.) Believing the information in Plaintiffs’ Petition was true and correct at the time

it was served—specifically that there was not complete diversity of citizenship between Plaintiffs

and Defendants under 28 U.S.C. § 1332(a)—KA filed an Original Answer in Kaufman County on

December 6, 2021. See id. at KA’s Original Answer.

       Pursuant to the Texas Rules of Civil Procedure, Plaintiffs served their initial disclosures to

KA on January 5, 2022. Though the Texas Estate was still named as a defendant in the case style

of the disclosures, Plaintiffs also provided the first notice to KA that the Texas Estate is no longer

a named defendant in this lawsuit by labeling it a “Former Defendant” that has knowledge of the

relevant facts of this case. This new discovery prompted KA to check the Kaufman County court

records. Kaufman County online court records showed that two months before KA was served




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with the Original Petition a “Notice of Non Suit” was filed on September 16, 2021, and an “Order”

was entered on September 21, 2016. KA requested copies of these filings from the Kaufman

County records clerk and received them the following day on January 6, 2022. See Ex. 1 at

Plaintiffs’ Notice of Nonsuit without Prejudice as to Defendant the Texas Estate; Order granting

Plaintiffs’ Notice of Nonsuit. That is when KA learned that Plaintiffs had dismissed their claims

against the Texas Estate and did not amend their petition to reflect the dismissal, prior to service

of the Original Petition on KA.

       Consequently, due to the disclosures served by Plaintiffs, January 5, 2022 was the first time

KA became aware that this case is removable based on complete diversity of citizenship between

Plaintiffs and Defendants under 28 U.S.C. § 1332(a).

                   II.     TIMELINESS OF REMOVAL AND CONSENT

       Plaintiffs served KA with a copy of their Original Petition on November 12, 2021. See 1 at

Petition. The case stated in Plaintiffs’ Original Petition served on KA was not removable because

it named the Texas Estate, a Texas resident, as a defendant. See generally, id.

       Plaintiffs then served their initial disclosures to KA on January 5, 2022.            In those

disclosures, for the first time, Plaintiffs revealed they had dismissed their claims against the Texas

Estate. So, on January 5, 2022, KA could ascertain for the first time that this case was removable

based on complete diversity of citizenship between Plaintiffs and the actual named Defendants.

Accordingly, pursuant to 28 U.S.C. § 1446(b)(3), KA timely files this Notice of Removal within

thirty (30) days of service of a “paper from which it may first be ascertained that the case is one

which is or has become removable.”




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                               III.    GROUNDS FOR REMOVAL

        This removal is proper because the Court has subject matter jurisdiction based on complete

diversity of citizenship between Plaintiffs and Defendants under 28 U.S.C. § 1332(a). Complete

diversity of citizenship between the parties exists at the time of this Removal.

        A.      Amount in Controversy

        The Fifth Circuit determines whether the amount in controversy requirement is satisfied

by asking whether it is “facially apparent” from a plaintiff’s petition that the claims exceed the

sum or value of $75,000.00. See Menendez v. Wal-Mart Stores, Inc., 364 F. App’x 62, 66 (5th Cir.

2010). Per Plaintiffs’ Original Petition, Plaintiffs seek damages “over $1,000,000.” See Ex. 1 at

Petition, ¶ 11. Accordingly, the amount in controversy is satisfied.

        B.      Complete Diversity of Citizenship Between Plaintiffs and Defendants

        There is complete diversity of citizenship between Plaintiffs and Defendants in this lawsuit.

Plaintiffs reside in and/or are citizens of Texas. See id. at Petition, ¶¶ 2-3.

        Defendant KA is a California corporation with its principal place of business in Irvine,

California. KA is a 100% wholly- owned subsidiary of Defendant KC, which is a publicly traded

corporation, organized and existing under the laws of Korea with its principal place of business in

Seoul, South Korea. Hyundai Motor Company owns 10% or more of KC’s stock. Hyundai Motor

Company is publicly traded corporation on the Korean stock exchange and is organized and

existing under the laws of Korea with its principal place of business in Seoul, South Korea.

        Given the complete diversity of citizenship between the parties, this Court has jurisdiction

under 28 U.S.C. § 1332(a).

                                           IV.     VENUE

        This District and Division embraces the place in which the removed state court action has




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been pending. Here, the County Court at Law of Kaufman County, Texas is geographically located

within the Northern District of Texas, Dallas Division.

                            V.      PROCEDURAL COMPLIANCE

       Pursuant to 28 U.S.C. § 1446(a), copies of all process, pleadings, orders, and other filings

in the state-court suit are attached to this Notice of Removal as Exhibit 1.

       KA will promptly file a notice of this removal with the clerk of the state court where the

suit has been pending. A copy of that notice is attached as Exhibit 2.

       With this Notice of Removal, KA is also filing a Disclosure Statement, pursuant to Federal

Rule of Civil Procedure 7.1.

       By filing this Notice of Removal, KA does not waive any legal defenses or objections to

Plaintiffs’ Original Petition, but expressly reserves its right to raise any and all legal defenses or

objections in subsequent pleadings in this Court.

       This Notice of Removal is signed pursuant to Federal Rule of Civil Procedure 11, as

required under 28 U.S.C. § 1446(a).

                                     VI.     JURY DEMAND

       KA demands a trial by jury. KA made a jury demand in accordance with state law in the

state court proceeding and has therefore preserved its right to a jury trial. See Fed. R. Civ. P.

81(c)(3)(A).

                                      VII.    CONCLUSION

       KA represents that it has properly complied with the removal statutes set forth above, and

this case thus stands removed from the County Court of Law of Kaufman County, Texas to the

United States District Court for the Northern District of Texas, Dallas Division.




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                                             Respectfully submitted,

                                             /s/ Kurt C. Kern
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                                             ATTORNEYS FOR DEFENDANT
                                             KIA AMERICA, INC.


                                CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing document has been forwarded
to all counsel, in accordance with the Federal Rules of Civil Procedure on the 4th day of February
2022.


                                             /s/ Kurt C. Kern




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